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            EXHIBIT L
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                                                             s ZFS PUtS Net App. .. I Main I Offering Color on. »   SELECTA LANGUAGE

                                                                                                                    English
MONDAY NOV 05, 2007
                                                                                                                    Français                                      EXHIBIT
Congratulations Google, Red Hat and the Java Community!                                                             Deutsch
                                                                                                                    Italiano
                   I just wanted to add my voice to the chorus of others from Sun in offering my                                                                  .1/1
                                                                                                                    III!
                   heartfelt congratulations to Google on the announcement of their new Java/Linux
                   phone platform, Android. Congratulations!                                                        Portuguese
                    I'd also like Sun to be the first platform software company to commit to a complete             Español
                                                                                                                    PyccicuÇi
                   developer environment around the platform, as we throw Sun's NetBeans
                   developer platform for mobile devices behind the effort. We've obviously done a
                   ton of work to support developers on all Java based platforms, and were pleased                  ABOUT ME
                   to add Google's Android to the list.
                                                                                                                    Biography
 The Java platform has come a long way - we're on the vast majority                                                 Sun Executive Perspectives
 of mobile devices in the marketplace today (well over a billion
                                                                                                                    SUN'S SIRATEGY
 phones at last count), and with Google's mobile services (like
 gMail and Google Maps), along with Yahoo!'s Go Mobile, alongside
                                                                                            IBeNs                   Understanding Sun
 a massive spectrum of incredible entertainment offerings from folks                                                Technology Adoption
 like Electronic Arts, we have by far and away the most complete                                                    Sun's Network Innovations
 content ecosystem on the market today. Enabling carriers, handset manufacturers, content creators                  Sun's Oloud
.. and most of all, consumers - to get the most from their mobile devices.                                          ARCHIVES
                   And needless to say, Google and the Open Handset Alliance just strapped another                                    '< August 2010
                   set of rockets to the community's momentum - and to the vision defining                          Sun Mon Tue Wed Thu Fri Sat
                   opportunity across our (and other) planets.                                                             i     2         3      4     557
                   Today is an incredible day for the open source community, and a massive                                 8     9     10         11   12 13 14
                   endorsement of two of the industry's most prolific free software communities, Java                  15       16         17     18   192021
                   and Linux.                                                                                         22        23     24        25    252728
                                                                                                                      29        30     31
                   Stay tuned for specific details - for those so inclined, download NetBeans here to
                   check out the industry's most popular IDE for mobile Java development.                                                      Today

And in the spirit of offering congratulations, I'd like to offer a similar shout out to our friends at Red          SUBSCRIBE
Hat Linux - who today announced their support for the OpenJDK project. With friends like Google
and Red Hat, it sure seems like the momentum behind Java's on the rise...                                           fil MYSeJ3oof.J j
  sd ui O1:27PM Nov 05, 2007 Comments[761                                                                            a
Sharethispost .iiI.iI:ii                                                                                            jflAdd to Coog]

                                                                                                                    SEARCH

        Corn me nts:                                                                                                                                   Search
                                                                                                                    Search filtering requires
        Why isn't Sun part of the OpenHandsetAlliance? Is it another case of NIH, since Google is                   JavaScript
        not using JavaFXMobile so Sun doesn't want to be part of it?
                                                                                                                    PROGRAMS
        Posted by Enaiel on November 05. 2007 at 02:07 PM PST #
                                                                                                                                                Sun Startup
        Jonathan, it is amazing the amount of value this has brought to Google's share prices as the                                   ,        Essentials
        investment world was speculating on Google's play in this industry.                                                                    Discount Program
                                                                                                                                               for Start-ups
        lt is companies like Sun and Google, which are helping the possibility and connectivity of the
        net expand on a daily basis.                                                                                DOWNLOADS
        Thank you
        Posted by Steve on November 05, 2007 at 02.07 P1 PST #
                                                                                                                               Java
        How come the stock tanked with such a good news? After hours trading JAVA down 2.8% or
        12 cents to $5.56                                                                                           COMMUNITY

        Posted by Michael Byrne on November 05, 2007 at 02:19 PM PST #

        "How come the stock tanked with such a good news?"
                                                                                                                               0 opensoaris
                                                                                                                                Get        Share       Learn
        Uh, 'cause as usual with Java, there's no money in ¡t for Sun?
                                                                                                                    NEWS
        Posted by whystopnow on November 05. 2007 at 02.25 PM PST #
                                                                                                                    CNET News.com
        Wait, I didn't hear or see any mention of Java during the whole Open Handset Alliance                       eWE EK. corn
        introduction. The openhandsetalliance.com has NO mention of Java either. Where is the                       NY Tirnes
                                                                                                                    The Economist
        Java?
                                                                                                                    The Register
        Posted by Adam KheI on N.vember 05, 2007 at 02:30 PM              #                                         COOL SThFF

        This is truly a great news for Java/developers, congratulations.                                            Flight Conditions (US)
        I wonder if iJobs got this AMAZING news on his kind of mobile device;)                                      Flight Routes
                                                                                                                    OpenSolaris
        Thanks very much.                                                                                           OpenSolaris Brazil
                                                                                                                    OpenS PARC
        Posted by Threads on November 05. 2007 at 02:38 PM PST #                                                    opentablecom
                                                                                                                    Proiect GlassFish
        Great. The Java platform seems to be pretty healthy. The only need it really needs is a great               Sun Blog Policy

                                              Oracle America, Inc. y. Google Inc.                                                     GOOG LE-00-00000512
                                              3:1 O-cv-03561 -WHA
